                          EXHIBIT 2
                   Death Certificate:


           • Cause of death, block 23
      • No autopsy performed, block 24a
          • Manner of death, block 25
• Was not referred to medical examiner, block 26a
     • Signed on May 10, 2014, block 33c
       • Filed on May 14, 2014, block 35




Case 4:24-cv-00051-M-RN   Document 33-2   Filed 06/18/24   Page 1 of 2
                                                                              NORTH CAROLINA DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                                                                                 N.C. VITAi. RECORDS                                                            ~
                                                                                                       CERTIFICATE OF DEATH /,. •                               ~,.      ~-    ,;,ff,   ;,;,,;,,

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                   complet•d~!Jri• limit .2!-de"ath)~ ~--:-                            Spanish/HispanicJlatino Chack the •No· box if                                                                     C Other As\ands~;
                   C 8Ih grad80f' less                                                  decedent is not Spanish/His.panic/Latino}                                                                ciQ~                   \'\\\\~, 1\!.1
                   C 9th-12th grade; no diploma                                        HNo, not Spanish/Hispanic/Latino                                                                   ~~ ~ C Native Hail~t~~\•
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                  C Some college credit, but no deg,ee                               ".::--0 Yu; Pueilo.Rican                                                                             ~ s:.-        C Samoan
                  CAssociate_degree (e~;"AA, AS) t                                    -~ ~ . C~n         _f1                                                   __________                               C Other PKific Iola
                  C B~chelor's_d•gree::(e.g., BA, AB,.B                                  C .Ves, other.Spenis
                  C Master's degree (e.g.,."1_A, MS~ME       , MSW, MBA)                                                                                                                                    C Other (Specify)
                  C Doctorate{e.g., PhD, EctO) or Professional degree
                      (e.g., MD, DDS, DVM, LLB, JD)
                  . FA HER NA        (First, Middle, Last)
                          Robert White
                           MAN' NAM
                   Cynthia .Avens
             20a. METHOD OF DISPOSIT ON
                  C Donation C Entombment
                  C Other (Specily) _ _           ~-~~----- Mt. Gilliam Church Cemeteryo/
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                   Case 4:24-cv-00051-M-RN                                                 Document 33-2                                       Filed 06/18/24                                         Page 2 of 2
